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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      NEWNAN DIVISION



UNITED STATES OF AMERICA
                                        CRIMINAL ACTION FILE
v.
                                        NO. 3:19-cr-12-TCB
BRENDON GATES,

     Defendant.



                               ORDER

     This case comes before the Court on Magistrate Judge Russell G.

Vineyard’s report and recommendation (the “R&R”) [73], which

recommends denying Defendant Brendon Gates’s motion [17] to

suppress evidence and his motion [23] to dismiss the indictment. Gates

has filed objections [75], in which he objects only to the recommendation

that the Court deny his motion to suppress.

I.   Legal Standard

     A district judge has a duty to conduct a “careful and complete”

review of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d
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732, 732 (11th Cir. 1982) (per curiam) (quoting Nettles v. Wainwright,

677 F.2d 404, 408 (5th Cir. Unit B 1982)). This review may take

different forms, however, depending on whether there are objections to

the R&R. The district judge must “make a de novo determination of

those portions of the [R&R] to which objection is made.” 28 U.S.C.

§ 636(b)(1)(C). In contrast, those portions of the R&R to which no

objection is made need only be reviewed for “clear error.” Macort v.

Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006) (per curiam) (quoting

Diamond v. Colonial Life & Accident Ins., 416 F.3d 310, 315 (4th Cir.

2005)).1

      “Parties filing objections must specifically identify those findings

objected to. Frivolous, conclusive or general objections need not be

considered by the district court.” Nettles, 677 F.2d at 410 n.8. “This rule

      1 Macort dealt only with the standard of review to be applied to a magistrate’s
factual findings, but the Supreme Court has indicated that there is no reason for
the district court to apply a different standard to a magistrate’s legal conclusions.
Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this circuit have
routinely reviewed both legal and factual conclusions for clear error. See Tauber v.
Barnhart, 438 F. Supp. 2d 1366, 1373–74 (N.D. Ga. 2006) (collecting cases). This is
to be contrasted with the standard of review on appeal, which distinguishes
between the two. See Monroe v. Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991)
(holding that when a magistrate’s findings of fact are adopted by the district court
without objection, they are reviewed on appeal under a “plain error standard” while
questions of law always remain subject to de novo review).

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facilitates the opportunity for district judges to spend more time on

matters actually contested and produces a result compatible with the

purposes of the Magistrates Act.” Id. at 410.

      After conducting a complete and careful review of the R&R, the

district judge “may accept, reject, or modify” the magistrate judge’s

findings and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681

F.2d at 732. The district judge “may also receive further evidence or

recommit the matter to the magistrate judge with instructions.” 28

U.S.C. § 636(b)(1)(C).

II.   Discussion

      A.    Objections to the Findings of Fact

      In his objections, Gates contests Magistrate Judge Vineyard’s

factual findings. First, Gates argues that Officer Repetto’s testimony

that Gates seemed to be “very, very concerned about [his] presence”

lacks credibility because the opinion is based solely on eye contact made

with Gates. [57] at 8. Office Repetto testified at the evidentiary hearing

that Gates’s suspicious demeanor prompted him to perform a Georgia

Crime Information Center query of the license plate of the vehicle,

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which revealed that it had been stolen. The R&R’s inclusion of this

sworn testimony is not improper, and the Court will overrule the

objection.

     Second, Gates objects to the magistrate judge’s acceptance of

Officer Repetto’s testimony that he obtained the rear license plate of a

vehicle “that was moving in the opposite direction of his police [car].”

[73] at 2. However, as Officer Repetto testified, he made a U-turn to

enter the gas station, which gave him a full view of the back of the

vehicle. Accordingly, the objection will be overruled.

     Third, Gates argues that the magistrate judge ignored the fact

that Officer Repetto’s testimony that he went inside the store to look for

the driver of the truck contradicts his testimony “that he actually saw

Gates driving the truck.” [73] at 2. Officer Repetto testified that he saw

an individual driving the truck, the truck was unoccupied when he

returned the store, and he entered the store “to identify where the

driver was.” [57] at 10. The Court does not find the testimony to be

inconsistent, and the objection will be overruled.




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     B.    Objections to the Legal Conclusions

     Gates also objects to Magistrate Judge Vineyard’s legal

conclusions. First, Gates argues that the totality of the evidence

demonstrates that Officer Repetto stopped Gates based on “a hunch or

bare suspicion” rather than on reasonable suspicion of criminal activity.

Gates points to several facts that he believes support the contention: (1)

when Officer Repetto returned to the store, Gates was not in or near the

truck; (2) Gates repeatedly denied involvement with the truck; (3) there

were no traffic violations or impairments on the truck that might have

otherwise justified a stop of the vehicle; (4) Officer Repetto never saw

Gates park the truck and enter the store; and (5) no evidence was

presented that Gates’s DNA was found in or on the truck.

     The R&R properly found that Officer Repetto had reasonable

suspicion of criminal activity to stop Gates. Although there were no

traffic violations or impairments on the truck, Officer Repetto learned

that the truck had been reported stolen, which prompted him to return

to the store and investigate further. Gates’s refusal to produce

identification, his statement to Officer Repetto that he “wasn’t putting

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that truck on him,” his evasive conduct and subsequent flight, and the

other evidence connecting Gates to the truck supplied Officer Repetto

with reasonable suspicion to support his temporary pursuit and

detention of Gates. See Illinois v. Wardlow, 528 U.S. 119, 124 (2000)

(“Our cases have also recognized that nervous, evasive behavior is a

pertinent factor in reasonable suspicion. Headlong flight—wherever it

occurs—is the consummate act of evasion . . . .”) (internal citations

omitted); United States v. Franklin, 323 F.3d 1298, 1301 (11th Cir.

2003) (finding the defendant’s flight to be a relevant consideration for

finding reasonable suspicion). The Court finds that taken as a whole,

Gates’s behavior created enough suspicion of criminal wrongdoing to

justify a brief, investigatory stop. The objection will be overruled.

     Second, Gates contends that the magistrate judge erred in finding

that Officer Repetto had probable cause to arrest him and argues that

the evidence seized incident to the unlawful arrest must therefore be

suppressed. However, when Gates physically resisted Officer Repetto,

Officer Repetto developed probable cause to arrest Gates for obstruction

of a law enforcement officer. See O.C.G.A. § 16-10-24; United States v.

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Foskey, 455 F. App’x 884, 888 (11th Cir. 2012) (per curium) (finding that

the officer had reasonable suspicion to conduct an investigatory stop,

and when the defendant ignored the officer’s lawful order to stop and

continued his flight, the officer had probable cause to arrest).

     Officer Repetto also had probable cause to arrest Gates for theft

by receiving stolen property based on the totality of circumstances

known to him, including his observation of Gates driving the stolen

truck, his identification of Gates in the store as the driver, Gates’s

statements made to him, and Gates’s subsequent flight and resistance

to arrest. Because Officer Repetto had probable cause to arrest Gates,

the search of Gates’s person leading to the discovery of the firearm was

a lawful search of his person incident to arrest. The objection will be

overruled.

III. Conclusion

     The Court has carefully reviewed the R&R and the objections

thereto. Having done so, the Court finds no clear error in the portions of

the R&R not objected to. Further, it finds that Magistrate Judge

Vineyard’s factual and legal conclusions are correct and that Gates’s

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objections have no merit. Accordingly, the Court adopts as its Order the

R&R [73] and overrules the objections [75]. Gates’s motion [17] to

suppress evidence and motion [23] to dismiss the indictment are denied.

     IT IS SO ORDERED this 12th day of January, 2021.



                                  ____________________________________
                                  Timothy C. Batten, Sr.
                                  United States District Judge




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